
Justice Thomas
delivered the opinion of the Court.
This case presents the question whether the States, by accepting federal funds, consent to waive their sovereign immunity to suits for money damages under the Religious Land Use and Institutionalized Persons Act of 2000 (RLUIPA), 114 Stat. 803, 42 U. S. C. § 2000cc et seq. We hold that they do not. Sovereign immunity therefore bars this suit for damages against the State of Texas.
*281I
A
RLUIPA is Congress’ second attempt to accord heightened statutory protection to religious exercise in the wake of this Court’s decision in Employment Div., Dept. of Human Resources of Ore. v. Smith, 494 U. S. 872 (1990). Congress first enacted the Religious Freedom Restoration Act of 1993 (RFRA), 107 Stat. 1488, 42 U. S. C. §2000bb et seq., with which it intended to “restore the compelling interest test as set forth in Sherbert v. Verner, 374 U. S. 398 (1963) and Wisconsin v. Yoder, 406 U. S. 205 (1972) ... in all cases where free exercise of religion is substantially burdened.” § 2000bb(b)(1). See generally Gonzales v. O Centro Espirita Beneficente Unido, do Vegetal, 546 U. S. 418, 424 (2006). We held RFRA unconstitutional as applied to state and local governments because it exceeded Congress’ power under § 5 of the Fourteenth Amendment. See City of Boerne v. Flores, 521 U. S. 507 (1997).
Congress responded by enacting RLUIPA pursuant to its Spending Clause and Commerce Clause authority. RLUIPA borrows important elements from RFRA — which continues to apply to the Federal Government — but RLUIPA is less sweeping in scope. See Cutter v. Wilkinson, 544 U. S. 709, 715 (2005). It targets two areas of state and local action: land-use regulation, 42 U. S. C. § 2000ce (RLUIPA §2), and restrictions on the religious exercise of institutionalized persons, § 2000cc-l (RLUIPA § 3).
Section 3 of RLUIPA provides that “[n]o government shall impose a substantial burden on the religious exercise” of an institutionalized person unless, as in RFRA, the government demonstrates that the burden “is in furtherance of a compelling governmental interest” and “is the least restrictive means of furthering” that interest. § 2000cc-l(a); cf. §§2000bb-l(a), (b). As relevant here, §3 applies “in any case” in which “the substantial burden is imposed in a pro*282gram or activity that receives Federal financial assistance. ”1 § 2000cc-l (b)(1).
RLUIPA also includes an express private cause of action that is taken from RFRA: “A person may assert a violation of [RLUIPA] as a claim or defense in a judicial proceeding and obtain appropriate relief against a government.” § 2000cc~2(a); cf. § 2000bb-l(e). For purposes of this provision, “government” includes, inter alia, States, counties, municipalities, their instrumentalities and officers, and persons acting under color of state law. § 2000ec-5(4)(A).
B
Petitioner Harvey Leroy Sossamon III is an inmate in the Robertson Unit of the Texas Department of Criminal Justice, Correctional Institutions Division. In 2006, Sossamon sued the State of Texas and various prison officials in their official capacities under RLUIPA’s private cause of action, seeking injunctive and monetary relief. Sossamon alleged that two prison policies violated RLUIPA: (1) a policy preventing inmates from attending religious services while on cell restriction for disciplinary infractions; and (2) a policy barring use of the prison chapel for religious worship. The District Court granted summary judgment in favor of respondents and held, as relevant here, that sovereign immunity barred Sossamon’s claims for monetary relief.2 See 713 F. Supp. 2d 657, 662-663 (WD Tex. 2007).
*283The Court of Appeals for the Fifth Circuit affirmed. 560 F. 3d 316,329 (2009). Acknowledging that Congress enacted RLUIPA pursuant to the Spending Clause, the court determined that Texas had not waived its sovereign immunity by accepting federal funds. The Court of Appeals strictly construed the text of RLUIPA’s cause of action in favor of the State and concluded that the statutory phrase “appropriate relief against a government” did not “unambiguously notif[y]” Texas that its acceptance of funds was conditioned on a waiver of immunity from claims for money damages. Id., at 330-331. We granted certiorari to resolve a division of authority among the Courts of Appeals on this question.3 560 U. S. 923 (2010).
II
“Dual sovereignty is a defining feature of our Nation’s constitutional blueprint.” Federal Maritime Comm’n v. South Carolina Ports Authority, 535 U. S. 743, 751 (2002). Upon ratification of the Constitution, the States entered the Union “with their sovereignty intact.” Ibid, (internal quotation marks omitted).
Immunity from private suits has long been considered “central to sovereign dignity.” Alden v. Maine, 527 U. S. 706, 715 (1999). As was widely understood at the time the Constitution was drafted:
“It is inherent in the nature of sovereignty not to be amenable to the suit of an individual without its consent. *284This is the general sense, and the general practice of mankind; and the exemption, as one of the attributes of sovereignty, is now enjoyed by the government of every State in the Union.” The Federalist No. 81, p. 511 (B. Wright ed. 1961) (A. Hamilton).
Indeed, when this Court threatened state immunity from private suits early in our Nation’s history, the people responded swiftly to reiterate that fundamental principle. See Hans v. Louisiana, 134 U. S. 1, 11 (1890) (discussing Chisholm v. Georgia, 2 Dall. 419 (1793), and the Eleventh Amendment).
Sovereign immunity principles enforce an important constitutional limitation on the power of the federal courts. See Pennhurst State School and Hospital v. Halderman, 465 U. S. 89, 98 (1984). For over a century now, this Court has consistently made clear that “federal jurisdiction over suits against unconsenting States ‘was not contemplated by the Constitution when establishing the judicial power of the United States.’” Seminole Tribe of Fla. v. Florida, 517 U. S. 44, 54 (1996) (quoting Hans, supra, at 15); see Seminole Tribe, supra, at 54-55, n. 7 (collecting cases). A State, however, may choose to waive its immunity in federal court at its pleasure. Clark v. Barnard, 108 U. S. 436, 447-448 (1883).
Accordingly, “our test for determining whether a State has waived its immunity from federal-court jurisdiction is a stringent one.” College Savings Bank v. Florida Prepaid Postsecondary Ed. Expense Bd., 527 U. S. 666, 675 (1999) (internal quotation marks omitted). A State’s consent to suit must be “unequivocally expressed” in the text of the relevant statute. Pennhurst State School and Hospital, supra, at 99; see Atascadero State Hospital v. Scanlon, 473 U. S. 234, 238, n. 1, 239-240 (1985). Only by requiring this “clear declaration” by the State can we be “certain that the State in fact consents to suit.” College Savings Bank, 527 U. S., at 680. Waiver may not be implied. Id., at 682.
*285For these reasons, a waiver of sovereign immunity “will be strictly construed, in terms of its scope, in favor of the sovereign.” Lane v. Peña, 518 U. S. 187, 192 (1996).4 So, for example, a State’s consent to suit in its own courts is not a waiver of its immunity from suit in federal court. College Savings Bank, supra, at 676. Similarly, a waiver of sovereign immunity to other types of relief does not waive immunity to damages: “[T]he waiver of sovereign immunity must extend unambiguously to such monetary claims.” Lane, supra, at 192; cf. United States v. Nordic Village, Inc., 503 U. S. 30, 34 (1992) (construing an ambiguous waiver of sovereign immunity to permit equitable but not monetary claims); Hoffman v. Connecticut Dept. of Income Maintenance, 492 U. S. 96, 101-102 (1989) (plurality opinion) (construing a statute to authorize injunctive relief but not “monetary recovery from the States” because intent to abrogate immunity to monetary recovery was not “ ‘unmistakably clear in the language of the statute’ ” (quoting Atascadero, supra, at 242)).
Ill
A
RLUIPA’s authorization of “appropriate relief against a government,” § 2000cc-2(a), is not the unequivocal expression of state consent that our precedents require. “[Appropriate relief” does not so clearly and unambiguously waive sovereign immunity to private suits for damages that we can *286“be certain that the State in fact consents” to such a suit. College Savings Bank, supra, at 680.
1
“ [Appropriate relief” is open-ended and ambiguous about what types of relief it includes, as many lower courts have recognized. See, e.g., 560 F. 3d, at 330-331.5 Far from clearly identifying money damages, the word “appropriate” is inherently context dependent. See Webster’s Third New International Dictionary 106 (1993) (defining “appropriate” as “specially suitable: fit, proper”). The context here— where the defendant is a sovereign — suggests, if anything, that monetary damages are not “suitable” or “proper.” See Federal Maritime Comm’n, 535 U. S., at 765 (“[S]tate sovereign immunity serves the important function of shielding state treasuries .. . ”).
Indeed, both the Court and dissent appeared to agree in West v. Gibson, 527 U. S. 212 (1999), that “appropriate” relief, by itself, does not unambiguously include damages against a sovereign. The question was whether the Equal Employment Opportunity Commission, which has authority to enforce Title VII of the Civil Rights Act against the Federal Government “through appropriate remedies,” could require the Federal Government to pay damages. 42 U. S. C. §2000e-16(b). The dissent argued that the phrase “appropriate remedies” did not authorize damages “in express and unequivocal terms.” Gibson, 527 U. S., at 226 (opinion of Kennedy, J.). The Court apparently did not disagree but reasoned that “appropriate remedies” had a flexible meaning that had expanded to include money damages after a related statute was amended to explicitly allow damages in actions under Title VII. See id., at 217-218.
*287Further, where a statute is susceptible of multiple plausible interpretations, including one preserving immunity, we will not consider a State to have waived its sovereign immunity. See Dellmuth v. Muth, 491 U. S. 223, 232 (1989) (holding that “a permissible inference” is not the necessary “unequivocal declaration” that States were intended to be subject to damages actions); Nordic Village, swpra, at 37 (holding that the existence of “plausible” interpretations that would not permit recovery “is enough to establish that a reading imposing monetary liability on the Government is not ‘unambiguous’ and therefore should not be adopted”). That is the case here.
Sossamon argues that, because RLUIPA expressly limits the United States to “injunctive or declaratory relief” to enforce the statute, the phrase “appropriate relief” in the private cause of action necessarily must be broader. 42 U. S. C. § 2000cc-2(f). Texas responds that, because the State has no immunity defense to a suit brought by the Federal Government, Congress needed to exclude damages affirmatively in that context but not in the context of private suits. Further, the private cause of action provides that a person may assert a violation of the statute “as a claim or defense.” §2000ec-2(a) (emphasis added). Because an injunction or declaratory judgment is not “appropriate relief” for a successful defense, Texas explains, explicitly limiting the private cause of action to those forms of relief would make no sense.
Sossamon also emphasizes that the statute requires that it be “construed in favor of a broad protection of religious exercise.” § 2000ce-3(g). Texas responds that this provision is best read as addressing the substantive standards in the statute, not the scope of “appropriate relief.” Texas also highlights Congress’ choice of the word “relief,” which it argues primarily connotes equitable relief. See Black’s Law Dictionary 1293 (7th ed. 1999) (defining “relief” as “[t]he re*288dress or benefit, esp. equitable in nature . . . , that a party asks of a court”).
These plausible arguments demonstrate that the phrase “appropriate relief” in RLUIPA is not so free from ambiguity that we may conclude that the States, by receiving federal funds, have unequivocally expressed intent to waive their sovereign immunity to suits for damages. Strictly construing that phrase in favor of the sovereign — as we must, see Lane, 518 U. S., at 192 — we conclude that it does not include suits for damages against a State.
2
The Court’s use of the phrase “appropriate relief” in Franklin v. Gwinnett County Public Schools, 503 U. S. 60 (1992), and Barnes v. Gorman, 536 U. S. 181 (2002), does not compel a contrary conclusion. In those cases, the Court addressed what remedies are available against municipal entities under the implied right of action to enforce Title IX of the Education Amendments of 1972, § 202 of the Americans with Disabilities Act of 1990, and § 504 of the Rehabilitation Act of 1973. With no statutory text to interpret, the Court “presume[d] the availability of all appropriate remedies unless Congress ha[d] expressly indicated otherwise.” Franklin, 503 U. S., at 66. The Court described the presumption as “[t]he general rule” that “the federal courts have the power to award any appropriate relief in a cognizable cause of action brought pursuant to a federal statute.” Id., at 70-71 (emphasis added); see Barnes, supra, at 185 (quoting Franklin, supra, at 73). Finding no express congressional intent to limit the remedies available under the implied right of action, the Court held that compensatory damages were available. Franklin, supra, at 73.
The presumption in Franklin and Barnes is irrelevant to construing the scope of an express waiver of sovereign immunity. See Lane, supra, at 196 (“[RJeliance on Franklin ... is misplaced” in determining whether damages are avail*289able against the Federal Government). The question here is not whether Congress has given clear direction that it intends to exclude a damages remedy, see Franklin, supra, at 70-71, but whether Congress has given clear direction that it intends to include a damages remedy. The text must “establish unambiguously that the waiver extends to monetary claims.” Nordic Village, 503 U. S., at 34. In Franklin and Barnes, congressional silence had an entirely different implication than it does here. Whatever “appropriate relief” might have meant in those cases does not translate to this context.6
B
Sossamon contends that, because Congress enacted §3 of RLUIPA pursuant to the Spending Clause, the States were necessarily on notice that they would be liable for damages. He argues that Spending Clause legislation operates as a contract and damages are always available relief for a breach of contract, whether the contract explicitly includes a damages remedy or not. Relying on Barnes and Franklin, he asserts that all recipients of federal funding are “ ‘generally on notice that [they are] subject... to those remedies traditionally available in suits for breach of contract,’ ” including compensatory damages. Brief for Petitioner 27 (quoting Barnes, 536 U. S., at 187; emphasis deleted).
*290We have acknowledged the contract-law analogy, but we have been clear “not [to] imply... that suits under Spending Clause legislation are suits in contract, or that contract-law principles apply to all issues that they raise.” Id., at 189, n. 2. We have not relied on the Spending Clause contract analogy to expand liability beyond what would exist under nonspending statutes, much less to extend monetary liability against the States, as Sossamon would have us do. In fact, in Barnes and Franklin, the Court discussed the Spending Clause context only as a potential limitation on liability. See Barnes, supra, at 187-188; Franklin, supra, at 74-75.
In any event, applying ordinary contract principles here would make little sense because contracts with a sovereign are unique. They do not traditionally confer a right of action for damages to enforce compliance: “ ‘The contracts between a Nation and an individual are only binding on the conscience of the sovereign and have no pretensions to compulsive force. They confer no right of action independent of the sovereign will.’ ” Lynch v. United States, 292 U. S. 571, 580-581 (1984) (quoting The Federalist, No. 81, at 511 (A. Hamilton)).7
More fundamentally, Sossamon’s implied-eontractremedies proposal cannot be squared with our longstanding rule that a waiver of sovereign immunity must be expressly and unequivocally stated in the text of the relevant statute. It would be bizarre to create an “unequivocal statement” rule and then find that every Spending Clause enactment, no matter what its text, satisfies that rule because it includes unexpressed, implied remedies against the States. The requirement of a clear statement in the text of the statute ensures that Congress has specifically considered state sovereign immunity and has intentionally legislated on the matter. Cf. Spector v. Norwegian Cruise Line Ltd., 545 U. S. *291119, 139 (2005) (plurality opinion) (“[C]lear statement rules ensure Congress does not, by broad or general language, legislate on a sensitive topic inadvertently or without due deliberation”). Without such a clear statement from Congress and notice to the States, federal courts may not step in and abrogate state sovereign immunity.8
IV
Sossamon also argues that § 1003 of the Rehabilitation Act Amendments of 1986, 42 U. S. C. §2000d-7, independently put the State on notice that it could be sued for damages under RLUIPA. That provision expressly waives state sovereign immunity for violations of “section 504 of the Rehabilitation Act of 1973, title IX of the Education Amendments of 1972, the Age Discrimination Act of 1975, title VI of the Civil Rights Act of 1964, or the provisions of any other Federal statute prohibiting discrimination by recipients of Federal financial assistance.” §2000d-7(a)(1) (emphasis added). Section 1003 makes “remedies (including remedies both at law and in equity) . . . available for such a violation to the same extent as such remedies are available for such a violation in the suit against any public or private entity other than a State.” § 2000d-7(a)(2). Sossamon contends that § 3 of RLUIPA falls within the residual clause of § 1003 and therefore §1003 waives Texas’ sovereign immunity to RLUIPA suits for damages.
*292Even assuming that a residual clause like the one in § 1003 could constitute an unequivocal textual waiver, § 3 is not unequivocally a “statute prohibiting discrimination” within the meaning of § 1003.9 The text of § 3 does not prohibit “discrimination”; rather, it prohibits “substantial] burden[s]” on religious exercise. This distinction is especially conspicuous in light of § 2 of RLUIPA, in which Congress expressly prohibited “land use regulations] that discriminate] ... on the basis of religion.” § 2000ec(b)(2). A waiver of sovereign immunity must be “strictly construed, in terms of its scope, in favor of the sovereign.” Lane, 518 U. S., at 192. We cannot say that the residual clause clearly extends to § 3; a State might reasonably conclude that the clause covers only provisions using the term “discrimination.”
The statutory provisions specifically listed in § 1003 confirm that § 3 does not unequivocally come within the scope of the residual clause. “[G]eneral words,” such as the residual clause here, “are construed to embrace only objects similar in nature to those objects enumerated by the preceding specific words.” Washington State Dept. of Social and Health Sews. v. Guardianship Estate of Keffeler, 537 U. S. 371, 384 (2003) (internal quotation marks omitted); see also Jarecki v. G. D. Searle &amp; Co., 367 U. S. 303, 307 (1961) (noting that this maxim “is often wisely applied where a word is capable of many meanings in order to avoid the giving of unintended breadth to the Acts of Congress”). Unlike § 3, each of the statutes specifically enumerated in § 1003 explicitly prohibits “discrimination.” See 29 U. S. C. § 794(a); 20 U. S. C. § 1681(a); 42 U. S. C. §§ 6101, 6102, 2000d.10
*293* * *
We conclude that States, in accepting federal funding, do not consent to waive their sovereign immunity to private suits for money damages under RLUIPA because no statute expressly and unequivocally includes such a waiver. The judgment of the United States Court of Appeals for the Fifth Circuit is affirmed.

It is so ordered.

Justice Kagan took no part in the consideration or decision of this case.

 No party contends that the Commerce Clause permitted Congress to address the alleged burden on religious exercise at issue in this ease. See 42 U. S. C. § 2000ee~l(b)(2). Nor is Congress’ authority to enact RLUIPA under the Spending Clause challenged here. We therefore do not address those issues.


 The District Court also denied injunctive relief. 713 F. Supp. 2d 657, 668 (WD Tex. 2007). The Court of Appeals subsequently held that Sossamon’s claim for injunctive relief with respect to the cell-restriction policy was moot because the State had abandoned that policy after Sossamon filed a prison grievance. 560 F. 3d 316, 326 (CA5 2009). The Court of Appeals reversed the District Court with respect to Sossamon’s chapel-use *283policy claim, id., at 331-335, although the Robertson Unit later amended that policy also and now permits inmates to attend scheduled worship services in the chapel subject to certain safety precautions.


 Compare Madison v. Virginia, 474 F. 3d 118, 131 (CA4 2006); 560 F. 3d, at 331 (ease below); Cardinal v. Metrish, 564 F. 3d 794, 801 (CA6 2009); Nelson v. Miller, 570 F. 3d 868, 885 (CA7 2009); Van Wyhe v. Reisch, 581 F. 3d 639, 655 (CA8 2009); and Holley v. California Dept of Corrections, 599 F. 3d 1108, 1112 (CA9 2010), with Smith v. Allen, 502 F 3d 1255, 1276, n. 12 (CA11 2007) (citing Benning v. Georgia, 391 F. 3d 1299, 1305-1306 (CA11 2004)).


 Although Lane concerned the Federal Government, the strict construction principle, which flows logically from the requirement that consent be “unequivocally expressed,” applies to the sovereign immunity of the States as well. Cf. United States v. Nordic Village, Inc., 503 U. S. 30, 37 (1992) (equating the “unequivocal expression” principle from “the Eleventh Amendment context” with the principle applicable to federal sovereign immunity); College Savings Bank v. Florida Prepaid Postsecondary Ed. Expense Bd., 527 U. S. 666, 682 (1999) (noting the “elos[e] analogy” between federal and state sovereign immunity); Belknap v. Schild, 161 U. S. 10, 18 (1896) (“[A] State ... is as exempt as the United States [is] from private suit”).


 See also Holley, 599 F. 3d, at 1112; Nelson, 570 F. 3d, at 884; Van Wyhe, 581 F 3d, at 654; Cardinal, 564 F 3d, at 801; Madison, 474 F. 3d, at 131-132; cf. Webman v. Federal Bur. of Prisons, 441 F. 3d 1022, 1023 (CADC 2006) (interpreting the “appropriate relief” provision of RFRA).


 Nor can it be said that this Court’s use of the phrase “appropriate relief” in Franklin and Barnes somehow put the States on notice that the same phrase in RLUIPA subjected them to suits for monetary relief. Those cases did not involve sovereign defendants, so the Court had no occasion to consider sovereign immunity. Liability against nonsovereigns could not put the States on notice that they would be liable in the same manner, absent an unequivocal textual waiver. Moreover, the same phrase in RFRA had been interpreted not to include damages relief against the Federal Government or the States and so could have signaled to the States that damages are not “appropriate relief” under RLUIPA. See, e. g., Tinsley v. Pittari, 952 F. Supp. 384, 389 (ND Tex. 1996); Commack Self-Service Kosher Meats Inc. v. New York, 954 F. Supp. 65, 69 (EDNY 1997).


 Of course, the Federal Government has, by statute, waived its sovereign immunity to damages for breach of contract in certain contexts. See, e. g., 28 U. S. C. § 1491(a)(1).


 The dissent finds our decision “difficult to understand,” post, at 298 (opinion of Sotomayor, J.), but it follows naturally from this Court’s precedents regarding waiver of sovereign immunity, which the dissent gives astonishingly short shrift. The dissent instead concerns itself primarily with “general remedies principles.” Post, at 293. The essence of sovereign immunity, however, is that remedies against the government differ from “general remedies principles” applicable to private litigants. See, e. g., Lane v. Peña, 518 U. S. 187, 196 (1996) (calling it a “crucial point that, when it comes to an award of money damages, sovereign immunity places the ... Government on an entirely different footing than private parties”).


 Every Court of Appeals to consider the question has so held. See Holley, 599 F. 3d, at 1113-1114; Van Wyhe, 581 F. 3d, at 654-655; Madison, 474 F. 3d, at 132-133.


 Sossamon argues that § 3 resembles § 504 of the Rehabilitation Act, one of the statutes listed in § 1003, because both require special accommodations for particular people or activities. By Sossamon’s reasoning, every Spending Clause statute that arguably provides a benefit to a elass *293of people or activities would become a federal statute “prohibiting discrimination,” thereby waiving sovereign immunity. Such an interpretation cannot be squared with the foundational rule that waiver of sovereign immunity must be unequivocally expressed and strictly construed.

